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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

LV, et al.,

Plaintiffs,

No. 03-CV-9917 (LAP)
~against-—

ORDER

 

NEW YORK CITY DEPARTMENT OF
EDUCATION, et al.,

Defendants.

 

 

LORETTA A. PRESKA, Senior United States District Judge:

To assist the Court in determining Mr. Irwin’s fee
structure, he shall submit an affidavit by no later than June
10, .2021 setting out the rates he has charged in two or three
public sector matters. Additionally, Plaintiffs’ counsel shall
inform the Court of the rates charged by expert Neil Steinkamp

for his work in Jose P. v. Ambach, No. 96-CV-1834 (E.D.N.Y.).

 

The parties may submit any comments regarding Mr. Irwin’s
proposed fees by letter no later than June 17, 2021.
SO ORDERED.

Dated: June 2, 2021
New York, New York

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LORETTA A. PRESKA
Senior United States District Judge

 

 

 

 

 

 

 
